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                                                      January 8, 2024
                                                                      Defendant's request for an extension to respond to
                                                                      the complaint is granted. Defendant is directed to
           VIA ECF
                                                                      respond to the complaint by January 15, 2025.
           Hon. Edgardo Ramos
           Thurgood Marshall
                                                                      SO ORDERED.
           United States Courthouse
           40 Foley Square
           New York, NY 10007
                                                                                                 Edgardo Ramos, U.S.D.J.
                    Re:       Turner v. Cannaboy Treehouse LLC                                   Dated: January 9, 2025
                                                                                                 New York, New York
                              Case No.: 1:24-cv-08296-ER

           Dear Judge Ramos:

                  Our firm represents Defendant Cannaboy Treehouse LLC in the above-referenced matter.
           We write to advise the Court that on December 26, 2024, our firm communicated with a
           representative of Plaintiff’s Counsel, Mitchell Pomerance, who verbally consented to a twenty-
           day extension of time for Defendant to respond, plead or otherwise move with respect to the
           Complaint in this matter, as we were formally retained on the same date. As such, Defendant’s
           responsive pleadings are due on January 15, 2025.

                   Should Your Honor have any questions or need anything further from me in this regard,
           please feel free to contact me.


                                                          Respectfully submitted,

                                                          PEM LAW LLP

                                                           /s/ Leonard S. Spinelli
                                                          Leonard S. Spinelli

           LSS

           cc:      All Counsel of Record (via eCourts)




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